 Case: 4:24-cv-01523-HEA               Doc. #: 44-3 Filed: 02/24/25                 Page: 1 of 1 PageID #:
                                                  432




                                                                                                February 17, 2025



              PROJECTED BUDGETS FOR REMOVAL AND CRATING OF WINDOWS

REMOVAL: $52,000

        Admin: $5,200 (currently $14,957—the difference will be recouped in the future work)

         Labor: $46,800. 3 craftsmen for 20 days (60 work days). Currently, we have spent $2,989 on the labor of
building scaffolding and tearing it down when work stopped.



ARCHIVAL, DOCUMENTATION, LABELING: $4,500

        Labor: 3-4 hours per window (13 windows) to document the condition of each section of stained glass.
Currently, we have spent $1,466 on this before work was stopped.



CRATING: $11,700

        Materials: $4,701 has already been spent on lumber, plywood, polystyrene, screws, and mileage.

         Labor: $7,000. We have already spent $4,322 fabricating 39 custom crates, followed by putting them into
storage. The remaining $2,678 will be for the loading of stained glass into crates, securing the crates, and
loading/unloading of crates into our vehicles and workspace.



Original total projected costs: $68,200.00



Expenses that we have incurred to date: $28,435.00 ($9,757 of administration will be deferred to later work)

Because we had to stop the work, we are expecting an additional cost to remobilize and rebuild the scaffolding to
be in the range of $3,500-$4,500.


                                                                                                 Exhibit
Therefore, the new projected costs will be $71,700-$72,700.
                                                                                                   A-2
